Case 2:23-cv-01394-SMB-ESW Document 85 Filed 07/14/25 Page1of19

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DISTRICT OF ARIZONA
Mark Houser, Plaintiff ay, DEPUTY
V.

City of Scottsdale, et al., Defendants

Case No. 2:23-cv-01394-PHX-SMB (ESW)

PLAINTIFF’S MOTION FOR RECONSIDERATION

OF ORDER STRIKING SECOND AMENDED COMPLAINT (DOC. 84)

AND REQUEST FOR EXPEDITED RULING

Filed with Exhibits A-D

Filed in Person — July 4 2025

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Mark Houser

9015 E. Pima Center Parkway

Scottsdale, AZ 85258

Pro Se Plaintiff

mhouser@gcebscorp.com

(602) 799-3161

UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA
Mark Houser, an individual, )
) Case No. 2:23-cv-01394-PHX-SMB (ESW)
Plaintiff, )

) PLAINTIFF’S MOTION FOR

RECONSIDERATION OF ORDER STRIKING SECOND AMENDED
Case 2:23-cv-01394-SMB-ESW Document 85 Filed 07/14/25 Page3of19

) COMPLAINT (DOC. 84)

City of Scottsdale, et al., )

) Pursuant to LRCiv 7.2(g) and

Defendants. ) Fed. R. Civ. P. 60(b)

Plaintiff Mark Houser, pro se, respectfully moves this Court to reconsider its July
10, 2025 Order (Doc. 84), which struck Plaintiff’s Second Amended Complaint
(Doc. 80). This motion is made pursuant to Local Rule 7.2(g) and Federal Rule of

Civil Procedure 60(b) to correct a clear error of fact and prevent manifest

injustice.

### BACKGROUND
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On March 13, 2025, the Court extended the deadline to amend pleadings to June
12, 2025. See Doc. 53 at 1:19-21. Plaintiff filed the Second Amended Complaint

on June 12, 2025, in full compliance with that Order.

On June 17, 2025, Defendants filed a Motion to Strike (Doc. 81), falsely claiming
that Plaintiff filed “without leave of court.” That motion failed to reference the
Court’s prior Order granting leave. The Court’s July 10, 2025 Order (Doc. 84)

adopted that misstatement and struck Plaintiff’s operative complaint.

### GROUNDS FOR RECONSIDERATION

1. **Clear Error of Fact**

The Court’s Order was based on the mistaken belief that Plaintiff lacked leave to
amend. In fact, the Court expressly granted leave through June 12, 2025. Plaintiff

filed his amended complaint on that date and was therefore in full compliance.
Case 2:23-cv-01394-SMB-ESW Document 85 Filed 07/14/25 Page5of19

2. **Good-Faith Mistake by Pro Se Litigant*”*

Plaintiff, newly proceeding pro se, reasonably misunderstood the need to respond
to a motion that directly contradicted the docket. This misunderstanding was made
in good faith and should not result in dismissal of an authorized and timely

pleading.

3. ** Manifest Injustice and Due Process Violation**

Striking a properly filed complaint—without adjudication on the merits and
based on a demonstrably false assertion—is contrary to due process and the
interests of justice. See *Lemoge v. United States*, 587 F.3d 1188, 1198 (9th Cir.
2009) (Rule 60(b)(1) should be liberally applied where a pro se litigant

misapprehends procedural rules).

#H## ANTICIPATED COUNTERARGUMENTS AND RESPONSES

- **Failure to respond was a waiver:**
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Not so. Plaintiff’s silence was a good-faith mistake, not a concession. Rule
60(b)(1) allows correction of such errors where the outcome would otherwise

result in injustice.

- **Plaintiff needed to seek separate leave under Rule 15(a)(2):**

Incorrect. The Court’s March 12 Order expressly granted leave by setting a June
12 amendment deadline. No further motion was required. See *Foman v. Davis*,

371 U.S. 178, 182 (1962).

- **The error was harmless:**

It was not. Plaintiff faces ongoing prejudice and procedural harm from being

denied the right to proceed on a timely, court-authorized complaint.

### RELIEF REQUESTED
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Plaintiff respectfully requests that the Court:

1. Vacate the July 10, 2025 Order (Doc. 84);
2. Deny Defendants’ Motion to Strike (Doc. 81);
3. Reinstate the Second Amended Complaint (Doc. 80) as the operative pleading;

4. Alternatively, grant leave *nunc pro tunc* to file the Second Amended

Complaint as of June 12, 2025;
5. Grant such further relief as the Court deems just and proper.

This Motion is submitted with the following supporting exhibits:

Exhibit A — Court Order Granting Leave to Amend (Doc. 53:19-21)
Exhibit B — Defendants’ Motion to Strike (Doc. 81)

Exhibit C — July 10, 2025 Order Striking Plaintiff’s Second Amended Complaint

(Doc. 84)

Exhibit D — First Page of Plaintiff’s Second Amended Complaint (Doc. 80, filed

June 12, 2025)
Case 2:23-cv-01394-SMB-ESW Document 85 Filed 07/14/25 Page8of19

RESPECTFULLY SUBMITTED this Wf day of July, 2025.

** Mark Houser**

Pro Se Plaintiff

9015 E. Pima Center Parkway

Scottsdale, AZ 85258

mhouser@gebscorp.com
Case 2:23-cv-01394-SMB-ESW Document 85 Filed 07/14/25 Page9of19

Mark Houser

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Pro Se Plaintiff

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UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA
Mark Houser, an individual, )
) Case No. 2:23-cv-01394-PHX-SMB
(ESW)
Plaintiff, )
) [PROPOSED] ORDER
V. ) GRANTING PLAINTIFF’S

MOTION FOR
Case 2:23-cv-01394-SMB-ESW Document 85 Filed 07/14/25 Page 10 of 19

) RECONSIDERATION OF ORDER

STRIKING SECOND AMENDED COMPLAINT

City of Scottsdale, et al., )

Defendants. ).

The Court, having considered Plaintiff’s Motion for Reconsideration of the Court’s

July 10, 2025 Order (Doc. 84), the record, and good cause appearing,

IT IS HEREBY ORDERED that Plaintiff’s Motion for Reconsideration is

GRANTED.

IT IS FURTHER ORDERED that the Court’s prior Order at Doc. 84 is VACATED.
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IT IS FURTHER ORDERED that Defendants’ Motion to Strike (Doc. 81) is

DENIED.

IT IS FURTHER ORDERED that Plaintiff’s Second Amended Complaint (Doc.

80) is reinstated as the operative pleading in this case.

IT IS FURTHER ORDERED that, in the alternative, leave is granted nunc pro tunc

to file the Second Amended Complaint as of June 12, 2025.

Dated this day of , 2025.

Hon. Eileen S. Willett

United States Magistrate Judge
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Mark Houser, No. CV-23-01394-PHX-SMB (ESW)
Plaintiff, ORDER

v.

City of Scottsdale, et al.,

Defendants.

The Court has considered the Plaintiff's Unopposed Motion to Extend Remaining
Deadlines (Doc. 51) and Notice of Errata (Doc. 52). Good cause appearing,

IT IS ORDERED granting the Unopposed Motion to Extend Remaining Deadlines
(Doc. 51).

IT IS FURTHER ORDERED extending deadlines as follows:

Last day to join parties, amend pleadings June 12, 2025

file supplemental pleadings
All discovery February 1, 2026
Plaintiff's expert disclosure October 9, 2025
Defendant’s expert disclosure November 16, 2025
Rebuttal expert disclosure December 14, 2025
Expert depositions January 15, 2026
Dispositive motions March 16, 2026
Settlement talks April 30, 2026

The remainder of the Joint Rule 16 Case Management Order (Doc. 44) is affirmed.

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The parties are reminded of the Court’s advisal and policy not to extend the dispositive
motion deadline beyond the two-year anniversary of the date of commencement of an
action (Doc. 44 at 5). The extension granted herein extends the dispositive motion deadline
well beyond the two-year anniversary. No further extensions will be granted absent
extraordinary circumstances.

Dated this 13th day of March, 2025.

Honorable Eileen S. Willett
United States Magistrate Judge

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1 || SCOTTSDALE CITY ATTORNEY’S OFFICE
Lori S. Davis (SBN: 027875)
2 || Lindsey M. Gomez-Gray (SBN: 027416)
3939 North Drinkwater Boulevard
3 || Scottsdale, Arizona 85251
(480) 312-2405 (T)
4 || legal@scottsdaleaz.gov
5 || Attorneys for Defendants Detective Koerner and
6 Sergeant Williamson
7 IN THE UNITED STATES DISTRICT COURT
g DISTRICT OF ARIZONA
9 |/Mark Houser, an individual; Case No.: 2:23-cv-01394-SMB-ESW
10 Plaintiff, CITY DEFENDANTS’ MOTION TO
STRIKE PLAINTIFF’S SECOND
11 Ilys, AMENDED COMPLAINT (Doc. No. 80)
12 City of Scottsdale, et. al.,
13 Defendants.
14
15 Pursuant to LR 7.2 (m)(1), Defendants Detective Koerner and Sergeant Williamson
16 || (collectively, “City Defendants”) move this Court to strike Plaintiff's Amended Complaint (Doc.
17 || No. 80) as it is not authorized under Rule 15, Fed. R. Civ. P or LRCiv 15.1.
18 Rule 15(a), Fed. R. Civ. P, which governs amending pleadings before trial, states, in
19 || relevant part:
20 (a) Amendments Before Trial.
21 (1) Amending as a Matter of Course. A party may amend its pleading once as a matter
of course within:
22
ts) 21 days after serving it, or
23 B) if the pleading is one to which a responsive pleading is required, 21 days
after service of a responsive pleading or 21 days after service of a motion under
24 Rule 12(b), (e), or (f), whichever is earlier.
25 (2) Other Amendments. In all other cases, a party may amend its pleading only with
the opposing party’s written consent or the court’s leave. The court should freely give
26 leave when justice so requires.3
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The deadline to amend the Complaint as a matter of course expired no later than October
21, 2024, 21 days after Plaintiff served his First Amended Complaint (Doc. No. 37). Plaintiff
filed his Second Amended Complaint on June 12, 2025 (Doc. 80) — 236 days later. As such,
Plaintiff was required to obtain either (1) the City Defendants’ consent to amend the complaint
or (2) seek leave with this Court. See Fed.R.Civ.P. 15(a)(2). Plaintiff did neither. For these
reasons, the City Defendants respectfully move this Court to strike Plaintiff's Second Amended
Complaint (Doc. No. 80).

RESPECTFULLY SUBMITTED this 17" day of June, 2025.

SCOTTSDALE CITY ATTORNEY’S OFFICE

By: __s/Lindsey Gomez-Gray
Lori S. Davis, Deputy City Attorney
Lindsey M. Gomez-Gray, Senior Assistant City Attorney
3939 North Drinkwater Boulevard
Scottsdale, Arizona 85251
Attorney for City Defendants

CERTIFICATE OF SERVICE

I hereby certify that on this 17" day of June, 2025, I electronically transmitted the
attached document to the Clerk’s office using the CM/ECF System for filing and electronic

service to Plaintiff’s counsel as follows:

Mark Houser
9015 E. Pima Center Parkway
Scottsdale, AZ 85258
mhouser@gcbscorp.com
Pro Per Plaintiff

By: __s/ Tiffany Hart
Scottsdale City Attorney’s Office

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Mark Houser, No. CV-23-01394-PHX-SMB (ESW)
Plaintiff, ORDER

V.

City of Scottsdale, et al.,
Defendants.

Pending before the Court is the City Defendants’ “Motion to Strike Plaintiff's
Second Amended Complaint (Doc. No. 80)” (Doc. 81). No response has been filed and
the time to do so has passed. See LRCiv 7.2(i). The City Defendants correctly assert that
Plaintiff improperly filed the Second Amended Complaint (Doc. 80) without filing an
accompanying motion seeking leave to amend the First Amended Complaint. See Fed. R.
Civ. P. 15(a)(2). Accordingly,

IT IS ORDERED granting the City Defendants’ “Motion to Strike Plaintiff's
Second Amended Complaint (Doc. No. 80)” (Doc. 81). The Clerk of Court is directed to
strike Plaintiff's Second Amended Complaint (Doc. 80).

IT IS FURTHER ORDERED withdrawing the City Defendants’ “Motion to
Dismiss Plaintiff's Second Amended Complaint (Doc. 80)” (Doc. 82)' and vacating the

_! The City Defendants acknowledge the pending Motion to Strike (Doc. 81) and
explain that they filed the Motion to Dismiss (Doc. 82) out of an abundance of caution.
(Doc. 82 at 1 n.1.)

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Court’s July 1, 2025 Order (Doc. 83) setting a response deadline to the Motion to Dismiss
(Doc. 82).

Dated this 10th day of July, 2025. Chr) LLY

Eileen §. Willett
United States Magistrate Judge

Exhibit CBSd)2:23-cv-01394-SMB-ESW Document 85 Filed 07/14/25 Page 18 of 19

Mark Houser —— RECEIVED “copy

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en!

mhouser(@gcbscorp.com

602-799-3161

Plaintiff (Pro Se)

UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA

Mark Houser, Plaintiff,

Vv.
City of Scottsdale, et al., Defendants.

Case No.: 2:23-CV-01394

AMENDED COMPLAINT

I. PARTIES
1. Plaintiff:
Mark Houser is an individual residing at 9384 E Via Del Sol Dr, Scottsdale,

Arizona 85255-5071. At all relevant times, Plaintiff was the owner and
Case 2:23-cv-01394-SMB-ESW Document 85 Filed 07/14/25 Page 19of19

CERTIFICATE OF SERVICE
I hereby certify that on July 14, 2025 I served the foregoing [Reconsideration of order

striking the second amended complaint] via email
Lori S. Davis, Esq.

Scottsdale City Attorney’s Office

3939 North Drinkwater Boulevard

Scottsdale, AZ 85251

Email: lodavis@scottsdaleaz.gov

Lindsey M. Gomez-Gray, Esq.

Email: LGomezGray @scottsdaleaz.gov

Scottsdale City Attorney’s Office

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oS

/s/ Mark Houser

Mark Houser, Pro Se

Email: mhouser@gcbscorp.com
